Case 1:23-cv-00236-GBW            Document 4        Filed 03/10/23      Page 1 of 1 PageID #: 79


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 AMERITAS LIFE INSURANCE CORP.,                        :
                                                       :
                Plaintiff,                             :
                                                       :
        v.                                             : C.A. No. 1:23-cv-00236(GBW)
                                                       :
 WILMINGTON SAVINGS FUND SOCIETY,                      : JURY TRIAL DEMANDED
 FSB, SOLELY AS SECURITIES                             :
 INTERMEDIARY,                                         :
                                                       :
                Defendant.                             :

             DISCLOSURE STATEMENT PURSUANT TO FED. R. CIV. P. 7.1

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Ameritas Life

Insurance Corp. (“Ameritas”), by and through its undersigned counsel, certifies that this party is a

non-governmental corporate party, that Ameritas’ parent corporation is Ameritas Holding

Company, that Ameritas Holding Company’s parent corporation is Ameritas Mutual Holding

Company, and that there are no publicly held corporations that own 10% or more of Ameritas’

stock. Ameritas is a citizen of the state of Nebraska for purposes of diversity jurisdiction.

DATED: March 10, 2023                         COZEN O’CONNOR

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